          Case 1:18-cv-11926-PBS Document 74-1 Filed 02/19/20 Page 1 of 5




                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MASSACHUSETTS

SECURITIES AND EXCHANGE COMMISSION

                                Plaintiff,

         v.

GREGORY LEMELSON and
LEMELSON CAPITAL MANAGEMENT, LLC,                            Civil Action No. 1:18-cv-11926-PBS

                                Defendants,

         and

THE AMVONA FUND, LP,

                                Relief Defendant.

                 MEMORANDUM IN SUPPORT OF NOTICE OF JOINDER
               OF INTERESTED PARTY LIGAND PHARMACEUTICALS, INC.

         Interested party Ligand Pharmaceuticals, Inc. (“Ligand”) hereby submits this

memorandum in support of Ligand’s Notice of Joinder with Plaintiff United States Securities and

Exchange Commission’s (the “SEC”) Motion for Order to Show Cause Why Defendants Should

Not Be Held In Contempt for Violating Protective Orders (the “Contempt Motion”) (ECF Nos. 68

& 69).

         1.     At 6:30 a.m. EST on February 19, 2020, Barron’s published online, under the byline

of the reporter discussed in the Contempt Motion, an article about this matter titled, “Hedge Fund

Alleges       SEC   Bias   in     Short-Selling     Case.”     The   article   is   available   at

https://www.barrons.com/articles/hedge-fund-manager-alleges-sec-bias-in-short-selling-case-

51582111800 (the “Barron’s Article”).

         2.     The Barron’s Article quotes verbatim from Foehr Deposition Exhibit 128. That

exhibit is an internal company email that Ligand produced in discovery in response to a subpoena
        Case 1:18-cv-11926-PBS Document 74-1 Filed 02/19/20 Page 2 of 5




from Defendants, and marked “Confidential” pursuant to the protective orders the Court entered.

(ECF Nos. 25 & 39).

       3.      As the SEC explains in the Contempt Motion, the protective orders clearly and

unambiguously permit the parties to use discovery materials solely for the purpose of litigating

this matter in court, and prohibit the parties from disclosing discovery materials to third parties

unconnected with the litigation, which would include the press. The SEC is correct that Ligand

proposed the supplemental protective order (ECF No. 39), and negotiated its terms at length with

counsel for Defendants, because of the company’s (now clearly validated) concern that Defendant

Lemelson would misuse its discovery materials, particularly while he, by his own account, has an

open short position in the company’s stock.

       4.      To the extent there was a lingering question whether it was Defendant Lemelson

who leaked Ligand’s confidential discovery materials, the Barron’s Article removes any doubt.

The Barron’s Article confirms that the SEC, Ligand, and undersigned counsel declined to

comment, but that Defendant Lemelson spoke on the record with Barron’s. The Barron’s Article

attributes to Defendant Lemelson statements to the reporter describing his deposition by the SEC

and his review of “pretrial discovery of Ligand’s communications with the agency.” The Barron’s

Article also quotes Defendant Lemelson’s preposterous claim to the reporter that the SEC’s

investigation and lawsuit have left him “feel[ing] like I’ve been living in North Korea for the past

few years.”

       5.      Counsel for Defendants have refused to engage on this issue. In a phone call in the

early afternoon of February 12, 2020, undersigned counsel told Brian Sullivan, one of Defendants’

attorneys, about the Barron’s reporter’s email seeking comment from Ligand and quoting from

Foehr Deposition Exhibit 128. Counsel for the SEC were also on the call. Undersigned counsel




                                                 2
           Case 1:18-cv-11926-PBS Document 74-1 Filed 02/19/20 Page 3 of 5




and counsel for the SEC asked Mr. Sullivan for answers by the next day to a few straightforward

questions to assist in assessing the source and scope of the discovery breach, and whether it was

ongoing. A few hours later, undersigned counsel followed up by sending Mr. Sullivan and

Douglas Brooks, Defendants’ other attorney, the reporter’s email and repeating the questions in

writing:

                       Has Fr. Lemelson, someone on his behalf, or anyone to Fr.
                       Lemelson’s knowledge, communicated with [the Barron’s
                       reporter] or anyone at Barron’s during the pendency of this
                       litigation?

                       Did Fr. Lemelson, someone on his behalf, or anyone to Fr.
                       Lemelson’s knowledge, share – in form or substance – the
                       emails described by [the Barron’s reporter] or the content or
                       summary of those emails with [the Barron’s reporter] or anyone
                       else affiliated with Barron’s?

                       Has Fr. Lemelson, someone on his behalf, or anyone to Fr.
                       Lemelson’s knowledge, provided any confidential documents
                       produced by Ligand in this matter to anyone outside his legal
                       team, including but not limited to members of the press? If so,
                       identify all such persons.

       6.       Mr. Brooks responded by email the evening of February 13, 2020, saying, in full,

“I’ve been [traveling] for work and have been completely tied up in meetings. If you think my

client is the source, you can file something with the court, and we will respond accordingly.”

Promptly after the publication of the Barron’s Article, undersigned counsel again wrote to Messrs.

Brooks and Sullivan to ask for answers to the above questions, and to the simple question, “What

other confidential emails were leaked and to whom?”

       7.       Counsel for Defendants have not responded to any of the questions, and their

silence is deafening. To Ligand’s knowledge, counsel for Defendants have not taken any action

to mitigate Defendant Lemelson’s unauthorized leak or to prevent further violation of the Court’s

protective orders and harm to Ligand.




                                                     3
           Case 1:18-cv-11926-PBS Document 74-1 Filed 02/19/20 Page 4 of 5




       8.       The Barron’s Article makes plain that Defendant Lemelson—who, again, claims to

have an open short position in Ligand stock—wants to poison the well of public opinion with

selective and out-of-context leaks of confidential discovery materials and ridiculous allegations of

political intrigue and partisan action by the SEC. Of course, the SEC’s non-partisan staff attorneys

in the Enforcement Division first subpoenaed the Defendants about this matter in September 2015,

when the Enforcement Division and the SEC were under the leadership of persons selected under

the previous Administration. (See ECF Nos. 46 & 46-19 (January 7, 2020 affidavit of Douglas S.

Brooks attaching “a true and accurate copy of the Subpoena sent to Father Emmanuel by the

Securities and Exchange Commission, dated September 1, 2015”)). Per longstanding SEC

procedure, those same non-partisan staff attorneys would have been responsible for requesting the

SEC’s bipartisan Commissioners to authorize the lawsuit against Defendants. Indeed, the same

staff attorney who sent the subpoena to Defendants in September 2015 also signed the Complaint

and Amended Complaint filed against the Defendants. (Compare ECF No. 46-19 with ECF Nos.

1 & 33).

       9.       Given Defendant Lemelson’s plain and egregious violation of the protective orders,

and his other discovery abuses described by SEC in the Contempt Motion, there is every reason to

believe that, absent action by the Court, he will continue to abuse the discovery process to settle

scores, benefit his open short position, and try this matter in the press. Ligand therefore submits

that the sanctions and other relief requested by the SEC in the Contempt Motion are necessary and

appropriate to address Defendant Lemelson’s unauthorized disclosure of Ligand’s confidential

discovery materials; to maintain the confidentiality and ensure the proper use of discovery

materials going forward; to protect the integrity of the public market for Ligand stock; and to

ensure that this matter is litigated fairly and on the merits before the Court and the Court alone.




                                                  4
          Case 1:18-cv-11926-PBS Document 74-1 Filed 02/19/20 Page 5 of 5




 Dated:    February 19, 2020                          Respectfully Submitted,

                                                      CAHILL GORDON & REINDEL LLP

                                                      By: /s/ Andrea Abarca
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                                                          Sean P. Tonolli (pro hac pending)
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                                                          Attorneys for Interested Party
                                                          Ligand Pharmaceuticals, Inc.


                                 CERTIFICATE OF SERVICE

       I certify that on February 19, 2020, a copy of the foregoing was electronically filed through

the ECF system and will be sent electronically to all persons identified in the Notice of Electronic

Filing and that paper copies will be sent to those indicated as non-registered participants.



 Dated:    February 19, 2020                           By: /s/ Andrea Abarca
                                                           Andrea Abarca




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